                                Case 3:24-bk-00496-BAJ      Doc 50-1           Filed 04/04/24   Page 1 of 4
Label Matrix for local noticing                20 Development LLC                               A Complete Home Inspection LLC
113A-3                                         1089 E Benchview Drive                           110 Velsco Lane
Case 3:24-bk-00496-BAJ                         Ogden, UT 84404-3783                             Port Sulphur, LA 70083-2362
Middle District of Florida
Jacksonville
Thu Apr 4 14:49:42 EDT 2024
ALV Capital LLC                                Acres & Royalty LLC                              Adaptive Medical Technologies LLC
23 Upton St                                    205 N Michigan Ave                               7349 Paseo Del Sur
Peabody, MA 01960-0060                         Chicago, IL 60601-5927                           Scottsdale, AZ 85258



Ajer LLC                                       Alere LLC                                        Ameiva LLC
1070 S 650 West                                1530 E. Williams Field Rd 201                    282 E 300 S
Farmington, UT 84025-4603                      Gilbert, AZ 85295-1825                           Smithfield, UT 84335-1636



Amrodddo Holdings LLC                          Andorful Dynasty Real Estate LLC                 Another Chance Group Home Inc
2283 Candlestick Ave                           1622 N 3950 W                                    54 N Vista Ave
Henderson, NV 89052-2361                       Lehi, UT 84043-6907                              Casa Grande, AZ 85122-3193



Anvil Construction Inc                         Archer Capital Investments                       Autonomous Drone Solutions DBA Calaway Solut
470 N. Main Street                             1448 W. Salmon Caddis Drive                      2121 Brittmoore 2200
Brigham City, UT 84302-1858                    Bluffdale, UT 84065-5122                         Houston, TX 77043-2220



BAYI Capital Management LLC                    Belle Maison Realty, LLC                         Bild Credit LLC
148 Undercliff Avenue                          1133 E 83rd Street 171                           30 N Gould Street 30212
Edgewater, NJ 07020-1275                       Chicago, IL 60619-6455                           Sheridan, WY 82801-6317



Bold City Commercial LLC                       Scott E Bomkamp                                  Braces at Brick, PA
4426 CAPITAL DOME DR                           DOJ-Ust                                          900 Cedar Bridge Avenue
Jacksonville, FL 32246-7456                    United States Trustee                            Brick, NJ 08723
                                               400 W. Washington St.
                                               Ste 1100
                                               Orlando, FL 32801-2440
Brooklyn Heights LLC                           Bryan K. Mickler                                 Bull & Bear Properties LLC
307 N Lincoln Street                           Attorney for the Debtor                          1140 E 87th Street
Tallulah, LA 71282-4314                        5452 Arlington Expy.                             Chicago, IL 60619-7012
                                               Jacksonville, FL 32211-6860


Business Live Global USA, LLC                  CNF Solutions LLC                                CannaVision Inc
4538 Walnut Ridge Circle                       135 East 620 South                               777 Main Street 600
Mc Donald, PA 15057-1608                       Smithfield, UT 84335-4901                        Fort Worth, TX 76102-5368



Cobb Utilities Inc                             Cool Beanz LLC                                   Dajo Properties LLC
191 Honey Suckle Circle                        6585 Decatur Blvd                                11360Chestnut Tree Rd
Ranger, GA 30734-6792                          Las Vegas, NV 89118-2110                         Honey Brook, PA 19344
                              Case 3:24-bk-00496-BAJ      Doc 50-1        Filed 04/04/24   Page 2 of 4
Darnell Development, LLC                     Dun Agro Hemp Group Inc                       Duval County Tax Collector
2814 W Newton CT                             P.O. Box 475                                  231 Forsyth St. #130
Visalia, CA 93291-6593                       Shelbyville, IN 46176                         Jacksonville FL 32202-3380



Edge Development LLC                         Expansive Investments, LLC                    Faith Investor Services, LLC
315 239th Ct. SE                             3855 S 500 W B                                1522 4th Ave
Sammamish, WA 98074-3687                     Salt Lake City, UT 84115                      Asbury Park, NJ 07712-4962



Fehu Capital Inc                             Ficarra Holdings LLC                          Florida Dept of Revenue
3139 W. Holmbe Blvd A 77025-1533             408 Billings Road                             P.O. Box 6668
                                             Somers, CT 06071-2037                         Tallahassee, FL 32314-6668



Florida Dept. of Revenue                     Foster Group LLC                              Genie Investments NV Inc.
Bankruptcy Unit                              2539 N 300 E                                  PO Box 60443
P.O. Box 6668                                Lehi, UT 84043-4403                           Jacksonville, FL 32236-0443
Tallahassee, FL 32314-6668


Global Verse Holdings LLC                    Golden Goods LLC                              H&M Essential Services, LLC
1709 Vintage Lane                            3620 West 10th Street                         221 N Broad Street 3A
Wylie, TX 75098-0816                         Greeley, CO 80634-1853                        Middletown, DE 19709-1070



Half a Dime, LTD                             Heliosun LLC DBA Odin                         High Dunes II LLC
Box 653                                      1600 S Litchfield Rd 230A                     17 Lockwood Drive
Alberta                                      Goodyear, AZ 85338                            Charleston, SC 29401-1190



Hospitality Growth Capital LLC               Humane Care 7 Days Medical Group Inc          IRS
23 Upton St                                  6552 Bolsa Avenue N                           Centralized Insolvency Operations
Peabody, MA 01960-0060                       Huntington Beach, CA 92647-2656               P.O. Box 7346
                                                                                           Philadelphia, PA 19101-7346


Internal Revenue Service                     Iron Dragon Corporation                       JC&TL Inc
PO Box 7346                                  70 Winding Way                                13865 Magnolia Avenue B
Philadelphia, PA 19101-7346                  Gibbsboro, NJ 08026-1460                      Chino, CA 91710-7047



Just Hewitt LLC                              Knife & Spirit                                Knights Lending
205 E Hidalgo Avenue                         7217 E 4th Avenue                             1603 Capitol Ave, Ste. 413
Raymondville, TX 78580-2545                  Scottsdale, AZ 85251-3634                     Cheyenne, WY 82001-4562



Knut LLC                                     Latent Wealth Group LLC                       Law Offices of Mickler & Mickler, LLP
697 N 740 E 84043-1300                       302 N. Abajo Peak Way                         5452 Arlington Expy.
                                             Heber City, UT 84032-6501                     Jacksonville, FL 32211-6860
                                Case 3:24-bk-00496-BAJ      Doc 50-1           Filed 04/04/24   Page 3 of 4
Lobenhaus Capital, LLC                         Log Cabin Building LLC                           MAA DFW Investments LLC
6303 Lone Wolf Drive                           289 Parker Drive                                 2509 Amelia Island
Jamesville, NY 13078-9587                      Pittsburgh, PA 15216-1346                        Southlake, TX 76092-1583



McMann Commercial Lending LLC                  Meetopolis LLC                                   Michele Ruiz Productions, LLC DBA Ruiz Strat
500 N Michigan Ave 600                         5434 E Kathleen Road                             925 Century Park East 1700
Chicago, IL 60611-3754                         Scottsdale, AZ 85254-1759                        West Hollywood, CA 90069



Bryan K. Mickler                               Moser Holdings, LLC                              My Dragonfly Home Solutions, LLC
Mickler & Mickler                              537 S. 150 E.                                    7700 Irvine Center Drive 800
5452 Arlington Expressway                      Smithfield, UT 84335-1654                        Irvine, CA 92618-3047
Jacksonville, FL 32211-6860


NCR Digital Corp                               NY SF Sunset Yards LLC                           New Mount olive Missionary Baptist Church In
237 Floyd Road                                 64 Grand Street                                  P.O. Box 1696
Shirley, NY 11967-2941                         Brooklyn, NY 11249-4219                          Harvey, IL 60426-7696



North Haven Lodging Partners LLC               Nortical Capital Inc                             Nutra-Acres Inc
2517 W Brentridge Circle                       921 E. Parker Street 1                           205 Michigan Ave
Sioux Falls, SD 57108-1573                     Lakeland, FL 33801-1901                          Chicago, IL 60601-5927



Nutre Leasing LLC                              On Site Life Care Inc.                           Oregon Business Management Group Inc
23 Upton St                                    41 Flatbush Avenue, 1st Floor                    12600 SW 72nd Ave 140
Peabody, MA 01960-0060                         Brooklyn, NY 11217-1145                          Tigard, OR 97223-8356



Phoenix Rising LLC                             Platinum Investments USA LLC                     Prine Energy Services LLC
172 Center Bay                                 c/o THE CORPORATION TRUST COMPANY                450 Gears Road
Jackson, WY 83001                              CORPORATION TRUST CENTER 1209 ORANGE ST          Houston, TX 77067-4529
                                               Wilmington, DE 19801-1120


Ricks Ventures LLC                             Rolling By The Dozen RV Park LLC                 Rowehl & Russo Properties, LLC
1354 W 1900 S                                  40 Country Road 267                              237 Floyd Road
Logan, UT 84321-6882                           Somerville, TX 77879-5208                        Shirley, NY 11967-2941



S&L Zeppeteli DBA SLZ Waste Inc                SSC Services Inc                                 Secretary of the Treasury
191 Moonachie Road                             80 Franklin Street                               15th & Pennsylvania Ave., NW
Moonachie, NJ 07074-1309                       Framingham, MA 01702-6671                        Washington, DC 20220-0001



Seeking First LLC                              Seiler Tucker Inc                                Skyward Tax & Accounting Service LLC
3320 Laurel Dale Drive                         400 Poydras Suite 1460                           3505 Lake Lynda Dr. 200
Tampa, FL 33618-1033                           New Orleans, LA 70130-3260                       Orlando, FL 32817-8333
                             Case 3:24-bk-00496-BAJ      Doc 50-1          Filed 04/04/24   Page 4 of 4
Solar Capital Funding LLC                   Solas Realty Concepts LLC                       Springer Farms Landholdings LLC
23 Upton St                                 112 Lehigh Avenue                               325 N 1200 E
Peabody, MA 01960-0060                      Newark, NJ 07112-2036                           American Fork, UT 84003-2049



Story Book Homes LLC                        Sun Coast Entertainment Live LLC                Sunlight Storage LLC
86 Mountain Avenue                          6960 Brescia Way                                3344 Bear Canyon Ln
Berkeley Heights, NJ 07922-2633             Orlando, FL 32819-5288                          Pleasant Grove, UT 84062-8016



Taj Construction LLC                        Terry’s Florists LLC                            The Farming Co. PTY LTD
10 Windsor Dr.                              46 English Plaza                                86 Lakeside Dr.
Foxboro, MA 02035-2226                      Red Bank, NJ 07701-1693                         Helena, MT 59604



The Generations Group                       The Generations Group-DonStrickland             TnC NOLA Holdings LLC
1006 Top Hill Dr                            14312 Zion Gate Xing                            1461 Annunciaction Street B
Brenham, TX 77833-2585                      Conroe, TX 77384-2516                           New Orleans, LA 70130-4539



U.S. Securities & Exchange Commission       United States Attorney                          United States Trustee - JAX 11
Office of Reorganization                    300 North Hogan St Suite 700                    Office of the United States Trustee
950 East Paces Ferry Road, N.E.             Jacksonville, FL 32202-4204                     George C Young Federal Building
Suite 900                                                                                   400 West Washington Street, Suite 1100
Atlanta, GA 30326-1382                                                                      Orlando, FL 32801-2210

VTJ LLC                                     WW LLC                                          Wai Holdings LLC
706 Leander DR                              26620 E Hoxie Road                              45 North Market
Leander, TX 78641-5017                      Rockford, WA 99030-7003                         Wailuku, HI 96793-1756



Wallingford Lodging Partners LLC            Winslow Homes LLC                               Zelco Properties LLC
2517 W Brentridge Circle                    3539 Tuscany Reserve Blvd 32168-5334            108 Patriot Dr A
Sioux Falls, SD 57108-1573                                                                  Middletown, DE 19709-8803



End of Label Matrix
Mailable recipients   110
Bypassed recipients     0
Total                 110
